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                                                                                   FILED
                                                                                 May 08, 2025
                         UNITED STATES DISTRICT COURT                       CLERK, U.S. DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS                         WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION                                         NM
                                                                         BY: ________________________________
                                                                                                 DEPUTY
 MARK ANTHONY ORTEGA                          §
                                              §
 v.                                           §             CIVIL NO. SA-24-CV-801-OLG
                                              §
 ENSURETY VENTURES LLC                        §

                        ORDER FOR DISMISSAL PAPERS
      On May 8, 2025, the Court was advised that this case has settled. See Dkt. No. 28.

Accordingly, it is hereby ORDERED that:

      1) The parties shall submit a stipulation of dismissal or agreed judgment and any
      appropriate supporting documents on or before Monday, July 7, 2025. If the parties are
      unable to submit those documents by that date, they may move for an extension of time to
      file the documents. Failure to so move may result in a dismissal of this case from the
      Court’s docket for failure to diligently prosecute.
      2) All pretrial deadlines in this case are hereby STAYED pending the submission of the
      parties’ stipulation of dismissal or agreed judgment and any appropriate supporting
      documents. These deadlines will be reinstated if the parties are unable to finalize their
      settlement of this case.
      3) The pretrial conference and trial settings are CANCELED.
      4) No extensions of the above deadline shall be granted except upon a showing of good
      cause.
      5) The Court hereby administratively CLOSES this case pending the filing of dismissal
      papers. If the parties wish to reopen this case, they may do so by filing a motion to that
      effect.


      It is so ORDERED.

      SIGNED this 8th day of May, 2025.


                                                  ____________________________
                                                  ORLANDO L. GARCIA
                                                  UNITED STATES DISTRICT JUDGE
